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DOC #:
UNITED STATES DISTRICT COURT DATE FILED: 9/29/2017
SOUTHERN DISTRICT OF NEW YORK
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William E. Green,
15cev3611 (PAC)
Plaintiff, ORDER OF DISMISSAL
-against-
Jacob & Company Watches, Inc. et al,
Defendants’,
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HONORABLE PAUL A. CROTTY, United States District Judge:
The Court having been advised that the parties have reached a settlement, it is,
ORDERED, that the above-entitled action be and hereby is dismissed, without prejudice
and costs to either party, subject to reopening should the settlement not be consummated within
thirty (30) days of the date hereof. The Court will sign a Stipulation and Order of Settlement
upon receipt from either party. In the event the parties require more than the 30 days to finalize
the settlement, either party shall submit a letter to the Court. The Clerk of Court is directed to

terminate the pending motions, deadlines, conferences, and this case.

Dated: New York, New York

September 29, 2017 ttt
ELA

PAUL A. CROTTY
United States District Judge
